Case 6:12-cv-00855-RWS Document 1023 Filed 12/14/20 Page 1 of 1 PageID #: 68801




                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                     TYLER DIVISION


  VIRNETX INC., LEIDOS, INC.,                       §
                                                    §
                                                    §   CIVIL ACTION NO. 6:12-CV-00855-RWS
                   Plaintiffs,
                                                    §
       .
                                                    §
  v.                                                §
                                                    §
  APPLE INC.;
                                                    §
                                                    §
                   Defendant.                       §

                                              ORDER

            It is ORDERED that the parties shall have 90 minutes of argument per side at the post-

 trial motions hearing on December 17, 2020.


           So ORDERED and SIGNED this 14th day of December, 2020.




                                                          ____________________________________
                                                          ROBERT W. SCHROEDER III
                                                          UNITED STATES DISTRICT JUDGE
